
222 Md. 621 (1960)
159 A.2d 853
INGRAM
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[P.C. No. 98, September Term, 1959.]
Court of Appeals of Maryland.
Decided April 18, 1960.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
PER CURIAM:
This is the second application of Thomas Richard Ingram for relief under the Post Conviction Procedure Act from judgment and sentence of eight years for attempt to commit statutory burglary, to which he pleaded guilty in 1956 in the Criminal Court of Baltimore.
The applicant shows no grounds for relief that could not reasonably have been raised in his first application for relief under the Act, as Code (1959 Supp.), Art. 27, Sec. 645H requires if a second application is to be entertained. Judge Warnken so found in his full and sound opinion below, and the application for leave to appeal is denied for the reasons set forth in that opinion.
Application denied.
